                                                                               JA
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                                                                                        Feb 23, 2021
                              UNITED STATES DISTRICT CO URT
                              SO UTH ER N DIST RIC T O F FLO R IDA
                   21-20106-CR-SCOLA/GOODMAN
                                CA SE NO .                   -


                                            18 U.S.C.j1349
                                            18U.S.C.j 1341
                                            18U.S.C.j 1956(a)(1)(B)(i)
                                            18U.S.C.j1957(a)
                                            18U.S.C.j1001(a)(2)
                                            18U.S.C.j2
                                            18U.S.C.j981(a)(1)(C)
                                            18U.S.C.j982

   UN ITED STA TES O F AM ER IC A

   V5.

   M AR TIN VA LD ES,
   FID AL GIS FO N T,
   JIJLIO LO PEZ,and
   D UN IEL TEJED A ,

                             D efendants.
                                                /


                                            IND IC TM EN T

         The G rand Jury chargesthat:

                                    G EN ER AL A LLEG A TIO N S

         Atvarioustim es relevantto this lndictm ent:

                 Clinicalresearch trials,alsoknown asclinicalinvestigations,wereresearch studies

  conductedon voluntaryhuman subjectsdesigned toanswerspecificquestionsaboutthesafetyor
  effectiveness ofnew drugs. D rug developers,orEtsponsors,''initiated and took responsibility for

  clinicalresearch trials.

                 The United StatesFood and Drug Administration (ttFDA'')wasresponsible for
   ensuring thatdrugs intended for hum an use w ere safe and effective. The FDA relied on the
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  truthfulness and accuracy ofthe results of clinicalresearch trials to m ake regulatory decisions

  aboutthe approvalofnew drugs,w ith the ultim ate goalofensuring thatallFDA -approved dnlgs

  were safe and effective fortheirapproved uses in hum ans.

                Before begilm ing a clinicalresearch trial, sponsors w ere required to provide the

  FD A w ith extensive inform ation regarding the proposed trial,including a detailed investigation

  plan know n asa ûistudy protocol.''The study protocoldescribed,am ong otherthings,theeligibility

  criteria forindividualsto enrollasstudy subjects,schedulesoftestsand procedures,drug and
  dosage regim ens,the length ofthe study,and the health outcom esto be m easured by the study.

  Clinicalresearch trials w ere required to be conducted according to the study protocol,as wellas

  any applicable law sand FD A regulations.

                Sponsorsgenerally retained contractresearch organizations(t;CROs'')to oversee
  and conductvarious aspects of clinicalresearch trials. Sponsors and CRO s typieally eontraeted

  w ith m ultiple research sitesto perform clinicalresearch trials. Undersuch an arrangem ent,eaeh

  individualresearch site wasresponsible foridentifying study subjects,enrolling them into the
  study,perfonuing the study,gathering data,and reporting the data to the sponsorand/orCR O , in

  accordance w ith the study protocol.

                Each research site had aprincipalinvestigator,also know n asaclinicalinvestigator.

  The principalinvestigatorw asthe individualresponsible forcondud ing the cliniealinvestigation

  atthatsite and ensuring thatthe elinicalreseareh trialwas condueted according to the study

  protocoland in com pliance w ith allapplicable FD A regulations. Responsibilities ofthe principal

  investigatorincluded personally conducting or supervising the study,including al1requirem ents

  regardingthequaliticationofthesubjects,thedispensationofstudymedication,andthecollection
  andreporting ofdata;obtaining informed eonsentfrom study subjects'
                                                                   ,reporting adverseevents


                                                 2
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  thatoccurduringthestudy'
                         ,and ensuringthatallem ployeesworkingon the studym eetthosesam e

  obligations.Sub-investigatorsworked underthedirection ofandassistedtheprincipalinvestigator

  in conducting clinicaltrials.

          6.     Principalinvestigators w ere also required,by regulation,to prepare and m aintain

  records relating to clinical research trials. These records,known as iicase histories,''included

  adequate records of the disposition of the study drug,including dates and quantities of dnlgs

  dispensedto subjects'
                      ,informedconsentfonusand medicalrecordsforeachsubjectparticipating
  in the clinical research trial'
                                , and records of a1l observations and other data pertinent to the

  investigationforeach subjectadministeredanexperimentaldrug.
          7.    The FDA had the authority to inspect clinical investigators to ensure that

  investigatorsw ere com plying w ith allapplicable law sand regulationsin conducting clinicaltrials.

  The FD A 'S inspection authority included the authority to review case histories and otherrecords

  m aintained by the clinicalinvestigator.

          8.    Clinicalinvestigators provided to the sponsor and/or CRO the inform ation about

  each subjectorenrolleein thestudy,includinghisorhermedicalhistory,laboratory results,and
  reaction to the drug under study. The sponsorthen provided the infonuation to the FDA for its

  usein evaluating whetherthe drugwassafe and effectiveand should be approved foritsintended

  U SC.

                           T he D efendants and T heir C o-c onspirators

                Tellus ClinicalReseareh,Inc.(ûtTellus'') was a medicalclinic incop orated in
  M iam i,Florida,thatconducted clinicalresearch trialsofnew drugsforpharm aceuticalcom panies

  and other sponsors. Tellus's principal place of business w as on Sunset D rive in M iam i-D ade
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  County,M iam i,Florida.

         10.    D efendant M A RT IN V A LD ES resided in Coral G ables, Florida, and w as a

  licensedm edicaldoctorintheStateofFlorida.From in oraround September2013and continuing

  tl
   uough in or around M ay 2016, V A LD ES w as the principal investigator responsible for

  conducting clinicalresearch trialsatTellus.

         11.    Defendant FID AL G IS FO N T resided in M iam i, Florida. From in or around

  Septem ber 2012 and continuing through in or around Septem ber 2016, FO N T w as the chief

  executive officerofTellus.

                DefendantJIJLIO LOPEZ resided in M iam i,Florida. From in or around April

  2014 and continuing through in oraround February 2016,LOPEZ was a study coordinatorat

  Tellus.

         13.    Defendant DUNIEL TEJEDA resided in M iami,Florida. From in or around

  September2013andcontinuingthroughin oraroundM ay2016,TEJEDA wasaprojectmanager
  and study coordinatoratTellus.

                Person 1wasaclinicalresearch coordinatoratTellusfrom in oraround September

  2013 and continuing through in oraround M ay 2016.

         15.    Person 2 wasa research assistantand assistantstudy coordinatoratTellusfrom in

  oraround D ecem ber2014 and continuing through in oraround June 2016.

         16.    Person 3 w as a sub-investigator at Tellus from in or around A pril 2014 and

  continuing through in oraround April2016.

                Person 4 w asan assistantstudy coordinatoratTellusfrom in oraround June 2014

  and eontinuing through in oraround July 2016.
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                               C LIN ICA L TR IA LS A T TELL US

         l8.    Between atleastin or around February 2014 and atleast in or around July 2016,

  Tellus,the Defendants,Person l,Person 2,Person 3,and Person 4 conducted variousclinicaltrials

  on behalfofsponsors and CRO s located throughoutthe U nited States.

         l9.    Am ongtheclinicaltrialsTelluscontracted to conductweretwo trialsconcerning a

  new investigationaldrugintendedtotreatpatientssufferingfrom opioiddependency(eolledively,
  ûûtheopioiddependencytrials''l;twotrialsconcelminganew investigationaldrugintendedtotreat
  patients suffering from irritable bowelsyndrome (collectively,ûtthe lBS trials''),and one trial
  concem ing a new investigational drug intended to treat patients suffering from diabetic

  nephropathy,akidneydisease(iûthediabetestrial'').
         20.    Priorto begilming a clinicaltrial,Tellus and M ARTIN VALDES, as principal

  investigator,entered into aitcliniealTrialAgreem ent''orsimilarcontrad with asponsororCRO .

  ClinicalTrialAgreementsrequire,am ongotherthings,thatinvestigatorsfollow thestudyprotocol.

  Atoraround the sam e tim e Tellus entered a C linicalTrialA greem ent,VA LD E S, asthe principal

  investigatorresponsible forconducting thetrial,also signed a Form FDA 1572, in w hich he agreed

  to com ply with thetelnnsofthestudy protocoland allapplicable FDA regulations.

                The study protocols required subjectsto meetcertain eligibility criteria to be
  enrolled in the study. For exam ple,am ong other things, the opioid dependeney trials required

  subjectstomeetcertain criteria foropioid dependence,the1BS trialsrequired subjectsto have
 been diagnosed with irritable bowel syndrom e with diarrhea,and the diabetes trial required

  subjectstohavedocumented diabetie nephropathy and have eertain levelsofaspeeitk protein,
 album in,in theirurine.

         22.    The ClinicalTrialAgreements between Tellus and itssponsors orCROs also at
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  timesincluded ascheduleofpaymentsthesponsorwould pay Tellusperstudysubjectforeach
  procedure,test,oftice visit,orothereventrequired underthestudy protocol,in addition to other

  fees. The Clinical Trial Agreements and/or study protocols required Tellus,in tul'
                                                                                   n,to pay

  individualstudysubjectsdirectlyfortheirparticipationintheclinicaltrial.Telluswasgenerally
  requiredtopaystudysubjectsuponsuccessfulcompletionofan officevisitrequiredbythestudy
  protocol.

                                            COUNT 1
                          C onspiracy to C om m itM ailand W ire Fraud
                                        (18U.S.C.j 1349)
                The GeneralA llegations section of this lndictm entis re-alleged and incorporated

  asthough fully setforth herein.

         2.     Beginningin oraround February 2014 and continuing atleastthrough in oraround

  July 2016, in M iam i-Dade County, in the Southern District of Florida, and elsewhere,the

  defendants,

                                       M A R TIN V AL DE S,
                                        FID AL G IS FO N T,
                                       JU LIO LO PEZ,and
                                       D U NIEL T EJE DA ,

  did willfully,thatis,with the intentto furtherthe objectsofthe conspiracy,and knowingly
  com bine,conspire,confederate,and agree w ith each otherand w ith othersl
                                                                          tnown and unknow n to

  the G rand Jury,to com m itcertain offensesagainstthe United States,thatis;

                        knowingly,and w ith the intent to defraud,devise and intend to devise a

  schem e and artifice to defraud and to obtain m oney and property by m eansofm aterially false and

  fraudulentpretenses,representations,and prom ises,know ing thatthe pretenses,representations,

  and prom isesw ere false and fraudulentwhen m ade,and,forthe purpose ofexecuting such schem e

  and artifice,did know ingly cause to be delivered certain m ailm atter by the U nited States Postal
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  Selwice and by commercialinterstate carrier,according to the directionsthereon,in violation of

  Title 18,United StatesCode,Section 1341;and

                 (b)    knowingly,and with the intentto defraud,devise and intend to devisea
  scheme and artiticeto defraud and to obtain money and property by meansofmaterially falseand

  fraudulentpretenses,representations,and prom ises,know ing thatthe pretenses,representations,

  and prom iseswere false and fraudulentwhen made,and,forthepurpose ofexecuting the schem e

  and artifice,did transm itand cause to be transm itted by m eansofw ire com m unication in interstate

  and foreign comm erce,certain writings,signs,signals,pictures,and sounds,in violation ofTitle

  18,U nited States Code,Section 1343.

                                PUR PO SE O F TH E C O N SPIR AC Y

                 Itw asthe purpose ofthe conspiracy forthe defendantsand theirco-conspiratorsto

  unlaw fully enzich them selvesby securing contracts to conductclinicalresearch trials,and causing

  sponsors and/or CROs to m ake paym ents on those contracts,by m aking m aterial false and

  fraudulentrepresentationsregarding,amongotherthings,subjecteligibility forandparticipation
  in clinicaltrials.

                        M AN N ER A N D M EA N S O F TH E CO N SPIM CY

         The malmer and m eans by which the defendants and their co-conspirators sought to

  accomplishtheobjectsandpurposeoftheconspiracyincluded,amongotherthings,thefollowing:
         4.      M ARTIN VALDES and Tellus entered into Clinical Trial Agreem ents with

  sponsors and CRO s,in w hich V A LDE S and Tellus agreed to conduct various clinicalresearch

  trials,including the opioid dependency trials,the lBS trials,and the diabetestrial.A spa14 ofthose

  agreem ents,VA LDE S and Tellus agreed to conductthe clinicalresearch trialsaccording to and in

  com pliance w ith the study protocols and allapplicable law s and regulations.


                                                   7
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                 To intlate the paym entsreceived from sponsors and/or CROsunderthe Clinical

  TrialAgreements,Defendantsandtheirco-conspiratorsfalsifiedtheparticipationofstudysubjects
  in clinicaltrials. Defendants and their co-conspirators entered false infonuation in the case

  historiesofclinicaltrialsubjectsto make itappearthatthe subjectshad,among otherthings,
  satisfied the eligibility criteria to participate in a specific clinicaltrial,provided inform ed consent

  to participate in a specific clinical trial, received a physical exam ination from a principal

  investigatorand sub-investigator atTellusin relation to a specific clinicaltrial,received and been

  adm inistered a study drug,com pleted laboratory tests and patientassessm entsrequired by study

  protocols,reported data as required by study protocols,and received paym entforvisitsto Tellus

  aspartofthe clinicaltrial.

                 Defendants and theirco-conspirators recruited and enrolled subjectsin clinical
  trialsthatthey knew did notm eetthe eligibility criteria setfol'
                                                                 th in the study protocols,including

  subjectsthatthey knew did notsufferfrom the medicalcondition orconditionsintended to be
  treated by the study drug.

                 Defendants and their co-conspirators obtained and used personally identifiable

  information ofthirdparties,including copiesofidentification doeumentssuch asdrivers'licenses

  and passports,to enrolland falsely portray individuals as partieipants in cliniealtrials at Tellus.

  Forexam ple'
             .

                 a.      FIDA LG IS FO N T, JU LIO LO PE Z,and Person 2 obtained personally

  identifiableinformation from third parties,includingfriendsandfamilym em bers,whichtheyused

  to portray those third partiesasparticipantsin clinicaltrials atTellusalthough the third partiesdid

  not,in fact,participate in a clinicaltrialatTellus.

                 b.      In som e instances,JULIO LO PEZ and Person 2 obtained identification
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  infonnation from third partieswithouttheirknowledgeorconsent. LOPEZ,Person 2,and their

  co-conspiratorsused the third parties'personally identitiable infonnation to portray those third

  partiesasparticipantsin clinicaltrialsatTelluswithouttheirknowledge,consent,orparticipation

  in the clinicaltrial.

         8.      Defendantsand theirco-conspiratorsfalsely represented thatstudy subjectshad
  taken or been adlninistered the study drug. ln realitysDefendants and their co-conspirators

  discarded,withoutusing,study dnzgsprovided by the sponsorsand required to beadministered to

  thesubjectsunderthestudyprotocols.
          9.     M ARTIN VALDES,Person 3,and their co-conspirators falsely represented in

  casehistoriesthattheprincipalinvestigatororsub-investigatorperformed physicalexaminations

  ofstudysubjects,asrequiredbytheapplicablestudyprotocol.
                  Defendantsandtheirco-conspiratorsfalsified laboratory testsand patientrespcmses

  required by the study protocol. Forexam ple:

                          The study protocol for the 1BS trials required that blood samples be

  collected from study subjectsduring specified office visitsand sentforlaboratory testing and
  analysis. JULIO L O PEZ,Person 1,Person 2,Person 4,and their co-conspirators drew blood

  from employees of Tellus,sentthe blood samples to a third-party laboratory for analysis,and

  received theblood testresultsback from thelab.LOPEZ,Person 1,Person 2,Person 4,and their

  co-conspiratorsthenfalselyrepresentedincasehistoriesofsubjectsinthelBStrialsthattheblood
  testresultswerethoseofthesubjectsinthe1BStrials;
                          ThestudyprotocolfortheIBStrialsrequiredsubjectsenrolled inthestudy
  to place daily telephone calls into an e-diary system ,enter a confidentialpersonal identitication

   numberspecifictothesubject,andanswerquestionstoassessthesubjects'dnzgusage,symptoms,
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  and experience. DUNIEL TEJEDA,Person 1, Person 2, and their co-conspirators placed

  telephonecallsto thee-diary system and answered questionsrequired by thestudy protocolin the

  1BS trialsinplaceof,andwithouttheknowledgeof,thestudy subjectsenrolledintheIBS trials.
  D efendantsand theirco-conspiratorsprovided false and fictitiousansw ersin response to questions

  about,amongotherthings,thesubjects'dailydrugusageandexperience.
                 Defendants and theirco-conspirators created false records indicating thatstudy

  subjectsreceived checks compensating them for theirparticipation in the clinicaltrial. For
  exam ple'
          .

                 a.      Defendants and their co-conspirators placed into subjectcase histories
  photocopies ofchecks made outfrom Tellus to the study subject. The checks purpoled to
  compensatethesubjectforhisorherparticipationintheclinicaltrial,asspecifiedintheapplicable
   study protocol.

                 b.      JU LIO LO PEZ,Person 1,Person 2,Person 4,and their co-conspirators

   signedpaymentlogsinsubjectcasehistoriesindicatingthatthesubjectsreceivedchecksoncertain
   datesw hen,in fact,they had not.

                         ln som e cases,JULIO LO PEZ,D UN IEL TEJEDA ,Person 1,Person 2,

   Person4,andtheirco-conspiratorsdeposited checks,madeouttoastudy subjectandpurporting
   to com pensate him orher for participating in a clinicaltrial,into personalbank accounts ow ned

   and controlled by the defendants and theirco-conspirators.

          l2.    D efendants and their co-conspirators sent and received em ails relating to

   conducting clinicaltrials atTellus,including em ails relating to the adm inistration ofstudy drugs.

                 M A R TIN V ALD ES and Tellus entered into ClinicalTrialA greem ents directing

   sponsorsand/orCROstomakepaymentsforclinicaltrialsby(a)transfeningfundselectronically


                                                   10
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  to bank accountscontrolled by FIDALGIS FONT;and (b)mailing checksto Tellus'soffices
  locatedintheSouthern DistrictofFlorida. Thosechecksweresubsequently deposited intoabartk

  accountcontrolled by FO NT .

                 FIDA LG IS FO N T used the m oney received from sponsors and/or CRO s forher

  ow n personalbenetit,including,am ong otherthings,luxury item s,personaltravel,residentialreal

  estate,and a personalvehicle. FO N T also used the m oney received from sponsors and/or CRO s

  to com pensate M A R TIN V A LD ES,JU LIO LO PEZ ,D UN IEL TEJED A ,Person 1,Person 2,

  Person 3,Person 4,and their co-conspirators fortheirparticipation in the conspiracy.

                 To induce sponsors and/orCRO s to enter into ClinicalTrialA greem ents w ith and

  provide m oney to the defendants and their co-conspirators, the defendants and their co-

  conspiratorsm ade and caused othersto m ake num erousm aterially false and fraudulentstatem ents

  to sponsors,CRO s,and/orthe FD A ,including,am ong otherthings,the follow ing:

                                   M ateriallv False Statem ents

         (a)     ThatM A R TIN VA LD ES and Tellusconducted clinicaltrials,including the opioid

  dependency trials,the 1BS trials,and the diabetestrial,in accordance with the study protocols

  applicableto each respectiveclinicaltrial;

                 Thatenrolled study subjectssatisfied the eligibility criteria forparticipating in
  clinicaltrials,including the opioid dependency trials,the 1BS trials,and the diabetestrial;

                 ThatM AR TIN V A LD E S and a sub-investigatorconducted physicalexam inations

  ofsubjectsparticipatingintheopioiddependencytrials,the1BStrials,andthediabetestrial;
                 ThatTellusstaffdispensedoradministered thestudy dnzgto subjectsenrolled in
  the opioid dependency trials,the lBS trials,and the diabetestrial;

                 Thatsubjectsenrolledinthe1BS trialsprovidedbloodsamples;
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                 Thatsubjectsenrolledinthe1BStrialsplacedtelephonecallstothee-diarysystem;
  and

          (g)    ThatTellus staffdisbursed checks to compensate subjects for participation in
  clinicaltrials,including the 1B S trialsand the diabetestrial.

          A 11in violation OfTitle 18,United States Code,Section l349.

                                            C O U N TS 2-3
                                             M ailFraud
                                          (18U.S.C.j 1341)
                 The GeneralAllegationssection ofthis lndictm entisre-alleged and incorporated

  by reference asthough fully setforth herein.

                 From in oraround February 2014,tluough in oraround July 2016,in M iam i-Dade

   County,in the SouthenzDistrictofFlorida,and elsewhere,the defendants,

                                        M A R TIN V A LDE S,
                                         FID A LG IS FO N T
                                        JULIO LOPEZ,a2
                                         DIJNIEL T EJEDA ,

   did knowingly,and with the intentto defraud,devise and intend to devisea schemeand artificeto

   defraud and to obtain money and property by m eansofm aterially falseand fraudulentpretenses,

   representations, and prom ises,know ing that the pretenses,representations, and prom ises w ere

   false and fraudulentw hen m ade,and,for the purpose ofexecuting such schem e and artifice,did

   knowingly cause to be delivered certain mailmatterby the United States PostalService and by

   com m ercialinterstate carrier,according to the directionsthereon,in violation of Title 18,U nited

   States Code,Section 1341.

                         PU R PO SE O F TH E SC H E M E A ND A RT IFICE

          3.     lt w as the purpose of the schem e and artifice for the defendants and their

   accolnplices to unlawfully enrich thelnselves by securing contracts to conductclinicalresearch
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  trials,andcausing sponsorsand/orCROsto makepaym entsonthosecontracts,bym akingmaterial

  false and fraudulentrepresentationsregarding,among otherthings,subjecteligibility forand
  participation in clinicaltrials.

                                     TH E SCH EM E A N D A R TIFICE

                 The M anner and M eans Section of Count 1 is repeated,re-alleged, and fully

  incorporated herein as a description ofthe schem e and artifice.

                                          USE O F TH E M A IL S

                 On or about the date enum erated as to each count below , the defendants, as

  specified in each count below ,for the purpose of executing and in furtherance ofthe aforesaid

  schem e and artitice to defraud and to obtain m oney and property by m eans ofm aterially false and

  fraudulent pretenses,representations,and prom ises,know ing the pretenses,representations,and

  prom isesw ere false and fraudulentwhen m ade,did know ingly cause to be delivered certain m ail

  m atterby theU nited StatesPostalSelw ice,according to the directionsthereon,asm oreparticularly

  described below :

   C O UN T    APPR O XIM A TE           D EFEN DA N TS       DE SC R IPT IO N O F M A IL IN G
                     D AT E
   2           A pril21,2016            M AR TIN            Check #5437 sentvia U .S.m ailfrom
                                        V A LD ES,          the sponsorofthe diabetestrial,
                                        FIDALGIS FONT,      located in ChapelHill,North
                                        JU LIO LO PEZ,      Carolina,to Tellus,located in the
                                        and D UN IEL        Southem D istrictofFlorida
                                        TEJED A
   3           July 25,2016             M A RTIN            Check #5461 sentvia U .S.m ailfrom
                                        VA LD ES and        the sponsorofthe diabetes trial,
                                        FIDA LG IS FO NT    located in ChapelH ill,N orth
                                                            Carolina,to Tellus,located in the
                                                            Southem D istrictofFlorida

          ln violation ofTitle 18,United States Code,Sections 1341 and 2.
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                                             C O UN T 4
                                         M oney Laundering
                                   (18 U.S.C.j1956(a)(1)(B)(i))
                   The GeneralA llegations section and Paragraphs 4 through 15 of Count l of this

  Indictmentarere-alleged and incorporated byreferenceasthough fully setforth herein.

                   O n or about M ay 6, 2016,in M iam i-Dade County, in the Southern District of

  Florida,and elsewhere,the defendant,

                                        M A RT IN V ALD ES,

  did knowingly conduct and attem pt to conduct a financial transaction affecting interstate

  comm erce,thatis,thedepositoffundsin the approximate amountof$5,276 from Tellusinto JP

  M organ Chase Bank N .A .accountnum ber x5808 in the nam e of Futurox Research Consulting

  Corp,w hich financialtransaction involved the proceeds of specified unlaw fulactivity,know ing

  thatthe property involved in the financialtransaction represented the proceeds of som e form of

  unlaw fulactivity,and know ing thatthe transaction w as designed,in w hole and in part,to conceal

  and disguise the nature,the location,the source,the ow nership,and the controlofthe proceedsof

  specified unlaw f'
                   ulactivity.

          ltis further alleged thatthe specified unlaw fulactivity is m ailfraud,in violation of Title

   18,United StatesCode,Section 1341,and w ire fraud,in violation ofTitle 18,U nited StatesCode,

   Section 1343.

          InviolationofTitlel8,UnitedStatesCode,Sections1956(a)(1)(B)(i)and2.
                                             C O U NT 5
                                         M oney Laundering
                                        (18U.S.C.j1957(a))
                   The GeneralA llegations section and Paragraphs 4 through l5 of Count 1 ofthis

   lndictm entare re-alleged and incorporated by reference as though fully setforth herein.
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                On oraboutFebruary 28,2016,in M iami-DadeCounty,inthe Southern Districtof

  Florida,and elsewhere,the defendant,

                                       FIDA LG IS FO N T,

  did knowingly engage and attem pt to engage in a m onetary transaction affecting interstate

  commerceby,through,and to a financialinstitution,in crim inally derived property greaterthan

  $10,000,thatis,the negotiation ofcheck num ber2543,in the approximate amountof$35,000,
  drawn on the accountofTellusending in 3770 atJP M organ Chase Bank N .A .and m ade payable

  to Land RoverSouthDade,such property having been derived from specified unlawfulactivity.

          ltisfurtheralleged thatthespecified unlawfulactivity isconspiracy to com mitmailfraud

  and wirefraud,in violation ofTitle 18,United StatesCode,Section l349,m ailfraud,in violation

  of Title 18,U nited States Code,Section 1341,afld wire fraud,in violation of Title l8,U nited

   States Code,Section 1343.

          In violation ofTitle 18,United StatesCode,Sections 1957 and 2.

                                               CO UN T 6
                                            False Statem ents
                                         (18U.S.C.j 1001(a)(2))
                 The GeneralAllegations section ofthis lndictm ent is re-alleged and incorporated

   by reference asthough fully setforth herein.

                 O n or about A pril 6,2016,in M iam i-D ade County, in the Southern D istrict of

   Florida,inamatterwithinthejurisdictionoftheUnited StatesFoodand DrugAdministration,an
   agencyoftheexecutivebranch ofthe United StatesGovenunent,thedefendant,

                                       M AR TIN V A LD ES,

   did knowingly and willfully make a false,fictitious,and fraudulentstatem entand representation

   astoam aterialfact,in thatthedefendantstated to an investigatorwith theUnited StatesFood and
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  DrugAdministrationthathepersonallyperfonnedaphysicalexaminationon each subjectin the
  lBStrialsforwhom hissignatureappearedonthephysicalexamination form inthesubject'scase
  history,when in truth and in fact,and as the defendantthen and there wellknew,he had not

  conducted such a physical exam ination,in violation of Title 18,United States Code,Section

   l001(a)(2).
                                          FO R FEITU RE
                             (18U.S.C.jj981(a)(1)(C)and982(a)(1))
                 The allegations ofthis lndictm entare hereby re-alleged and by this reference fully

  incorporatedherein forthepurposeofallegingforfeitureto theUnited StatesofAm ericaofcertain

  property in which the defendants,M A RT IN V A LDE S,FIDA LG IS FO N T,JU LIO L O PEZ ,

  and D UN IEL TEJEDA ,have an interest.

                 Uponconviction ofaviolation of,oraconspiracytoviolate,Title 18,United States

   Code,Sections 1341 ancl/or 1343,as alleged in thislndictm ent,any defendantso convicted shall

   forfeittotheUnited States,pursuantto Title 18,United StatesCode,Section 981(a)(1)(C),any
   property,realorpersonal,w hich constitutesorisderived from proceedstraceableto such violation.

          3.     Upon conviction of a violation of Title 18,U nited States Code,Sections 1956

   and/or 1957,asalleged in this lndictm ent,any defendantso convicted shallforfeitto the United

   States,pursuanttoTitle18,United StatesCode,Section 982(a)(1),anyproperty,realorpersonal,
   involved in such offense,and any property traceable to such property.

                 ForfeitureMoneyJudgments: Thepropertysubjectto forfeitureasaresultofthe
   alleged offensesincludes,butis notlim ited to,a sum ofm oney equalin value to the totalam ount

   offundsinvolved in orderived from the alleged offenses and m ay besoughtasa forfeiture m oney
   '
   Judgm ent.

                  SubstituteAssets:Ifanyoftheproperty subjecttoforfeiture,asaresultofanyact
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  oromission ofthedefendants:

                a.      camzotbelocated upon the exerciseofdue diligence;

                b.      hasbeen transferred orsold to,Ordeposited with,a third person;

                        hasbeenplacedbem ndthejurisdictionoftheCourt;
                d.      hasbeen substantially dim inished in value;or

                C.      has been com m ingled w ith other property w hich cannot be subdivided

                        w ithoutdifficulty,

  the U nited States shallbe entitled to the forfeiture of substitute property under the provisions of

  Title21,United StatesCode,Section 853(p).
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        All pursuant to Title 18, United States Code,Sections 981 and 982(a)(l), and the

  proceduressetforth in Title 21,United States Code,Section 853,as incorporated by Title 18,

  UnitedStatesCodeSection982(b)(1)andTitle28,United StatesCode,Section246l(c).

                                                   A TRU E BILL



                                                   F   EPER S N




    R I A FAJA O O RSH AN
  1.
   1N 1 ED STA T A TTORN EY
  SO TH ERN D l RICT OF FLOR ID A

  GU STAV W .EYLER
  D IRECTOR
  CON SUM ER PROTECTION BRANCH
  U .S.D EPAR TM EN T OF JU STICE



  LA U REN M .E N ER
  JO SHUA D .ROTHM AN
  TRIAL A TTORN EY S
  CON SU M ER PROTECTION BR AN CH
  U.S.DEPARTM ENT OF JUSTICE




                                              18
 Case 1:21-cr-20106-RNS Document
                           UNITED 3STATES
                                     Entered  onCT
                                          DISTRI FLSD   Docket 02/24/2021 Page 19 of 23
                                                   CO IJRT
                                            SO UTHERN DISTR ICT O F FLO RIDA

UNITED STATES OF AM ERICA

                                                             CERTIFICATE O F TRIAL ATTO RNEY*
M artin V aldes,etal.,
                                                             Superseding CaseInform ation:
                              Defendants.     l

CourtDivision:(seleclone)                                    New defendantls)                  YeS
 @       M iam i            Key W est                        Num berofnew defendants
         FTL                W PB        FTP                  Totalnum berofcounts

                   Ihave carefully considered the allegationsofthe indictm ent,the num berofdefendants,the num berof
                   probable witnessesandthelegalcomplexitiesofthe Indictment/lnformation attached hereto.
                   Iam aware thatthe information supplied on this statementwillbe relied upon by the Judges ofthis
                   Courtin Setting theircalendarsand scheduling crim inaltrials underthe mandate ofthe Speedy Trial
                   Act,Title28 U.S.C.Section 3161.
                   Interpreter:     (YesorNo)          Yes
                   Listlanguage and/ordialect          Soanish
                   Thiscasewilltake 20 daysforthepartiestotry.
                   Please check appropriate category andtype ofoffense listed below:
                   (Checkonlyone)                                     (Checkonlyone)

          I        0 to 5 days                                         Petty                    -
          11       6to 10 days                                         M inor
          IlI      l1to 20days                    ?'                   M isdem.
          IV       21to 60 days                                        Felony                  z'
          V        61daysandover
          6.       Hasthiscasepreviouslybeent5ledinthisDistrictCourt?                      (YesorNo)         N.
                                                                                                              o -
             lfyes:Judge                                     CaseNo.
             (Atlachcopy ofdispositiveorder)
         '   Hasacomplaintbeenfiled inthismatter?            (YesorNo)           X0
             Ifyes:M agistrateCaseNo.
             Relatedm iscellaneousnumbers:                       l8-m1-326I-JJO:18-mi-3345-JJO
             Defendantts)infederalcustodyasof
             Defendantts)instatecustodyasof
             Rule20from theDistrictof                                              --      -
             Isthisapotentialdeathpenaltycase?(YesorNo)                  No
                   Doesthiscaseoriginate from a matterpending in the CentralRegion oftheU.S.Attorney'sOftice
                   priortoAugust9,20l3(Mag.JudgeAlicia0.Valle)?                            Yes               No ?'

             8.    Doesthiscase originatefrom amatterpending in theNorthern Region ofthe U.S.Attorney'sOftice
                   priortoAugust8.2014(Mag.JudgeShaniekM aynard)?                          Yes -             No z
                    Doesthiscaseoriginate from a matterpending in              entralRegion oftheU.S.Attorney'sOftice
                    priortoOctober3,2019(Mag.JudgeJared Str s)?                                 s            No z
                                                                                       -             Xx =.
                                                                        DOJTRIAL ATTORNEY
                                                                        COURT ID NO.A5502478
     #penalty Sheetts)attached
Case 1:21-cr-20106-RNS Document 3 Entered on FLSD Docket 02/24/2021 Page 20 of 23




                           UN ITE D STA TES DIST RIC T C O U RT
                           SO U TH E RN DISTR IC T O F FLO RIDA


                                     PENA LTY SH EET

  Defendant'sN am e;                 M A R TIN VA LD ES
  Case N o:
  Count#: 1

    Title 18,United StatesCode,Section 1349                                             -   -

    Conspiracy to Com m itM ailand W ire Fraud

  iM ax Penaltv:     Twenty (20)years'imprisonm ent

  Counts#:

     Title l8,United StatesCodepSection 1341



   *M ax Penalty:   Twenty (20)years'imprisonm entasto each count              -    -   -

   Count#:

      Title 18,United StatesCode,Section 1956(a)(1)(B)(i)



   '
   hM ax Penalty:     Twenty (20)years'im prisonment
   Count#: 6

    Title l8,United StatesCode,Section l001(a)(7)



   WM ax Penaltv:     Five (5)vears'imprisonment
   *R efers only to possible term ofincarceration,does notinclude possible fines,restitution,
   specialassessm ents,parole term s,or forfeituresthat m ay be applicable.
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                           U NITED STA TE S D ISTR ICT C O UR T
                           SO UTH ERN D ISTR ICT O F FL O R ID A


                                     PEN A LT Y SH E ET

  D efendant's Nam e:                 FIDA L GIS FO NT
  C ase N o:
  Count#: 1

    Title l8,U nited StatesCode,Section 1349

    Conspiracy to CommitM ailand W ire Fraud

  iM ax Penalty:     Twenty (20)years'imprisonm ent

  Counts#:

     Title 18sUnited StatesCode,Section 1341



   *M ax Penaltv:   Twenty (20)years'imprisonm entasto each count

   Count#:

      Title 18,United StatesCode,Section l957(a)



   '
   FM ax Penalty:   Ten (10)years'imprisonm ent
   *lkefersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
   specialassessm ents,parole term s,or forfeitures that m ay be applicable.
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                            UNITED STATES DISTRICT COURT
                            SO U TH ERN D ISTR ICT O F FLO RID A


                                       PEN ALTY SH EE T

  Defendant'sN am e:                  JUL IO L O PEZ
  Case N o:
  Count#: 1

    Title 18,United StatesCodeeSection l349

    Conspiracy to Comm itM ailand W ire Fraud

  SrM axPenalty:      Twenty (20)years'imprisonm ent

  Counts#:

     Title 18,Uniyçd States Code,Section l34l
             -




   ScM axPenalty:    Twenty (20)years'imprisonm ent
   Srltefers only to possible term ofincarceration,does not include possible fines,restitution,
   specialassessm ents,parole term s,or forfeitures that m ay be applicable.
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                           UN ITED STA TES D ISTR IC T C O U R T
                           SO U TH E RN D ISTR ICT O F FLO R ID A


                                      PEN ALTY SH E ET

  D efendant'sN am e:                D UN IEL TEJED A
  C aseN o:
  Count#: l

    Title 18,U nited StatesCodesSection 1349

    Conspiracy to Com mitM ailand W ireFraud

  *M ax Penalty:     Twenty (20)years'imprisonm ent - -        -    ..

  Counts#:

     Title 18,United StatesCode.Section l341



   *M ax Penalty:    Twenty (20)years'imprisonm ent                                     -
   *R efers only to possible term ofincarceration,does notinclude possible fines,restitution,
   speeialassessm ents,parole term s,or forfeitures thatm ay be applicable.
